         Case 18-18161-mdc                     Doc       Filed 11/26/21 Entered 11/26/21 09:23:01                              Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 6
 Debtor 1              Sheena Napper-Taylor
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Eastern District      of __________
                                                          of Pennsylvania
                                                      District

 Case number            18-18161                         MDC
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   PNC Bank, N.A.
 Name of creditor: _______________________________________                                                        8
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           7 ____
                                                         ____ 7 ____
                                                                  8 ____
                                                                      3              Must be at least 21 days after date        01/01/2022
                                                                                     of this notice


                                                                                     New total payment:                         $ ______822.79
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
      
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                    308.91
                   Current escrow payment: $ _______________                       New escrow payment:                    311.97
                                                                                                               $ ____________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                            page 1
          Case 18-18161-mdc                         Doc           Filed 11/26/21 Entered 11/26/21 09:23:01                           Desc Main
                                                                  Document      Page 2 of 6

Debtor 1         Sheena   Napper-Taylor
                 _______________________________________________________                       Case number          18-18161
                                                                                                             (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     ✔
          I am the creditor.

          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.




 8/s/ Marika Dienes
     _____________________________________________________________
     Signature
                                                                                               Date    11/26/2021_______
                                                                                                       ____________




 Print:             Marika Dienes__________________________________________                    Title   Bankruptcy   Specialist
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            PNC Bank, N.A.
                    _________________________________________________________



 Address            3232 Newmark Drive
                    _________________________________________________________
                    Number                 Street

                    Miamisburg                       OH      45342
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      866-754-0659
                    ________________________                                                          bankruptcy@pnc.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                             page 2
                                                           REPRESENTATION OF PRINTED DOCUMENT
                 Case 18-18161-mdc       Doc
                               P.O. Box 1820                         Filed 11/26/21 Entered 11/26/21     09:23:01
                                                                                                      ESCROW       Desc Main
                                                                                                              ACCOUNT
                                                 Dayton, OH 45401-1820 Document        Page 3 of 6 DISCLOSURE  STATEMENT
                                                 Website: pnc.com/mortgagecustomercare
                                                 Customer Care Center: 1-877-526-3603                                            LOAN NUMBER:
                                                                                                                                        DATE:                        November 08, 2021

                                                                                                                                 PROPERTY ADDRESS:
                                                                                                                                    6735 LYNFORD STREET
                                                                                                                                    PHILADELPHIA, PA 19149


                 SHEENA S NAPPER-TAYLOR
                 6735 LYNFORD ST
                 PHILADELPHIA PA 19149-2127




  CURRENT MONTHLY MORTGAGE PAYMENT
   Principal & Interest                                                            510.82          Æ                          NEW PAYMENT INFORMATION
                                                                                                                 Principal & Interest                                                           510.82
   Escrow                                                                          308.91                        Escrow                                                                          311.97
   Total Payment                                                                   819.73
                                                                                                   Æ             Total Payment
                                                                                                                 New Payment Effective Date
                                                                                                                                                                                                 822.79
                                                                                                                                                                                               01/01/22

                                                                                                   Æ
                                                                            COMING YEAR ESCROW PROJECTION
 This statement provides a detailed summary of activity related to your escrow account. PNC Bank maintains your escrow account to pay such items as property taxes,
 insurance premiums, and mortgage insurance.
 This section lists a 12-month running escrow balance to determine the appropriate target balance and to determine if a shortage or surplus exists. This is a projection of the
 anticipated activity in your escrow account for the coming 12 months.

   ANTICIPATED ESCROW DISBURSEMENT                                          PAYMENTS                                                             PAYMENTS               CUR BAL             REQ BAL
                                                             MONTH         TO ESCROW                      DESCRIPTION                          FROM ESCROW            PROJECTION          PROJECTION
MORTGAGE INS                                  $825.48
                                                                                                       BEGINNING BALANCE                                                  1,662.57            1,702.23
CITY TAX                                     $1,898.13
                                                             January             311.97                   FHA/RBP                                   68.79                   1,905.75            1,945.41
HAZARD INS                                   $1,020.00
                                                             February            311.97                   FHA/RBP                                   68.79                   2,148.93            2,188.59
                                                             March               311.97                   FHA/RBP                                   68.79                   2,392.11            2,431.77
                                                             March                                        CITY TAX                               1,898.13                     493.98              533.64
                                                             April               311.97                   FHA/RBP                                   68.79                     737.16              776.82
                                                             May                 311.97                   FHA/RBP                                   68.79                     980.34            1,020.00
TOTAL DISBURSEMENTS                          $3,743.61
                                                             June                311.97                   FHA/RBP                                   68.79                   1,223.52            1,263.18
DIVIDED BY 12 MONTHS                                         July                311.97                   FHA/RBP                                   68.79                   1,466.70            1,506.36
                                                             July                                       HAZARD INS                               1,020.00                     446.70 *            486.36 **
MONTHLY ESCROW DEPOSIT                         $311.97       August              311.97                   FHA/RBP                                   68.79                     689.88              729.54
                                                             September           311.97                   FHA/RBP                                   68.79                     933.06              972.72
 CALCULATION OF ESCROW ADJUSTMENT                            October             311.97                   FHA/RBP                                   68.79                   1,176.24            1,215.90
                                                             November            311.97                   FHA/RBP                                   68.79                   1,419.42            1,459.08
BEGINNING PROJECTED BALANCE                  $1,662.57       December            311.97                   FHA/RBP                                   68.79                   1,662.60            1,702.26
BEGINNING REQUIRED BALANCE                   $1,702.23       * The projected escrow balance at the low point.
                                                             ** The lowest balance the escrow account should attain during the projected period.
ESCROW SURPLUS                                 $192.47
                                                                                                             MORE INFORMATION ON REVERSE SIDE
The required minimum balance allowed by
federal law (RESPA) is two times your monthly
escrow payment (excluding MIP/PMI), unless
your mortgage document or state law specifies
a lower amount.



                                                                             IMPORTANT MESSAGES
 Make your check, money order or cashier's check payable to PNC Bank. All Payments must be funds from a U.S. Bank Account and are subject to PNC's acceptance. Do NOT
 send cash by mail.




 We understand that you have filed for bankruptcy and have not yet received a discharge. None of the information requested in this statement will be used for the collection of any debts or for purposes
 prohibited by the Bankruptcy Code or other applicable Federal or state law.




                                                                                      INTERNET REPRINT




                        Your escrow account has a surplus balance of $192.47. Due to the past due status of your loan, these
                        funds are being retained in your escrow account. Once your loan status is current, you may contact
                        Customer Service about your refund.
                                      Case 18-18161-mdcESCROW
                                                         Doc ACCOUNT
                                                              Filed 11/26/21   EnteredSTATEMENT
                                                                        DISCLOSURE     11/26/21 09:23:01                                                     Desc Main
                                                              Document       Page 4 of 6
        LOAN NUMBER:                                                                                                                                       DATE: November 8, 2021

        Your projected escrow balance as of 12/31/21 is 1,662.57. Your required escrow balance, according to this analysis, should be 1,702.23. This means you
        have a surplus balance of $192.47. If a refund check was issued at the time of the analysis, the check is attached to the bottom of this form.
        Once during this analysis period, your required escrow balance should be reduced to a target balance of $486.36, as it does in July. Under Federal law,
        your target balance should not exceed an amount equal to two months of escrow payments for taxes and insurance, unless your mortgage document or
        state law specifies a lower amount.

        Projected Activity from the Previous Analysis
        This is a projection of the activity for your escrow account from the Previous Analysis. This projection was based on the disbursements anticipated to be
        made from your escrow account. Compare this projection to the actual escrow activity in the Account History (summarized below).
        The escrow payment in this projection may not equal the escrow payment in the Account History if an adjustment was made to collect a shortage or refund
        a surplus.
        Adjustments to the payment and differences between the anticipated and actual disbursements may prevent the actual balance from reaching the projected
        low escrow balance.
            Date                                       Description                                        Payments                       Disbursements                                                                                                          Balance
                                                       BEGINNING BALANCE                                                                                                                                                                                         476.84
         03/21                                         FHA/RBP                                              308.91                                 70.48                                                                                                         715.27
         04/21                                         FHA/RBP                                              308.91                                 70.48                                                                                                         953.70
         05/21                                         FHA/RBP                                              308.91                                 70.48                                                                                                       1,192.13
         06/21                                         FHA/RBP                                              308.91                                 70.48                                                                                                       1,430.56
         07/21                                         FHA/RBP                                              308.91                                 70.48                                                                                                       1,668.99
         07/21                                         HAZARD INS                                                                                 982.00                                                                                                         686.99
         08/21                                         FHA/RBP                                              308.91                                 70.48                                                                                                         925.42
         09/21                                         FHA/RBP                                              308.91                                 70.48                                                                                                       1,163.85
         10/21                                         FHA/RBP                                              308.91                                 70.48                                                                                                       1,402.28
         11/21                                         FHA/RBP                                              308.91                                 70.48                                                                                                       1,640.71
         12/21                                         FHA/RBP                                              308.91                                 70.48                                                                                                       1,879.14
         01/22                                         FHA/RBP                                              308.91                                 70.48                                                                                                       2,117.57
         02/22                                         FHA/RBP                                              308.91                                 70.48                                                                                                       2,356.00
         02/22                                         CITY TAX                                                                                 1,879.14                                                                                                         476.86 **
        TOTAL                                                                                             3,706.92                              3,706.90

        Account History
        This is a statement of actual escrow account activity from January 2021 through December 2021. Compare it to the Projected Activity from the Previous
        Analysis which appears above the Account History.
        Your total mortgage payment during the past year was $819.73 of which $510.82 was your Principal and Interest payment and $308.91 was your escrow
        payment.
             Date                  Description                                             Payments                Disbursements                   Balance
                                   BEGINNING BALANCE                                                                                             -2,664.60
            01/21                                                                            302.77                                                 -998.76
            02/21                  FHA/RBP                                                   302.77                         70.48                   -766.47
            02/21                  CITY TAX                                                                              1,898.13                -2,664.60
            03/21                  FHA/RBP                                                                                  70.48 *              -2,735.08
            04/21                                                                          1,676.45                               *              -1,058.63
            04/21                  FHA/RBP                                                                                  70.48 *              -1,129.11
            05/21                                                                            522.19                               *                 -606.92
            05/21                  FHA/RBP                                                                                  70.48 *                 -677.40
            06/21                  FHA/RBP                                                                                  70.48 *                 -747.88
            06/21                  HAZARD INS                                                                            1,020.00 *              -1,767.88
            07/21                  FHA/RBP                                                                                  70.48 *              -1,838.36
            08/21                  FHA/RBP                                                 1,566.56                         70.48                   -342.28
            09/21                                                                            308.91                               *                  -33.37
            09/21                  FHA/RBP                                                                                  68.79 *                 -102.16
            10/21                                                                          1,044.37                               *                  942.21
            10/21                  FHA/RBP                                                                                  68.79 *                  873.42
            11/21                                                                            617.82 e                             *               1,491.24
            11/21                  FHA/RBP                                                                                  68.79 *               1,422.45
            12/21                  FHA/RBP                                                   308.91 e                       68.79 *e              1,662.57
         TOTAL                                                                             6,650.75                      3,686.65
        * Indicates a difference from projected activity either in the amount or the date.
        ** Required minimum escrow balance.
        "e" Indicates estimates for future payments or disbursements.
        If you have any questions about this analysis statement, please visit us at pnc.com/mortgagecustomercare to send us an email, write to us at PNC Bank;
        Attention: Customer Service Research; B6-YM07-01-7, PO Box 1820; Dayton, OH 45401 or call our Customer Service Department toll free number
        1-877-526-3603.




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Case 18-18161-mdc          Doc      Filed 11/26/21 Entered 11/26/21 09:23:01                Desc Main
                                    Document      Page 5 of 6


Disclosure on Cancellation of Mortgage Insurance Premium (MIP)

You may have the option to cancel annual MIP in advance of the projected amortization date by making additional
payments of Mortgage principal. To inquire about loan qualifications for early termination of MIP, send in a written
request to the address listed below, or contact Customer Service.

        Call Customer Service at 1-800-822-5626, Monday - Thursday, 8:00 a.m. - 9:00 p.m., Friday, 8:00 a.m.
        - 5:00 p.m. ET and Saturday, 9:00 a.m. - 2:00 p.m.

        Or

       Send a written request to the address on the statement
       PNC Bank
       P.O. Box 8736
       ATTN: Mortgage Insurance Department B6-YM13-01-5
       Dayton, Ohio 45401-8736.
Case 18-18161-mdc          Doc      Filed 11/26/21 Entered 11/26/21 09:23:01                   Desc Main
                                    Document      Page 6 of 6



                                UNITEDSTATESBANKRUPTCYCOURT
                             Eastern District of Pennsylvania (Philadelphia)


 INRE: Sheena Napper-Taylor                        CaseNo. 18-18161
                                                     JudgeMagdeline D. Coleman
                                                     Chapter13



                                    CERTIFICATEOFSERVICEOF
                                NoticeofMortgagePaymentChange

  I,theundersigned,herebycertifythat,on 11/26/2021
                                                         ,atrueandcorrectcopyoftheNotice
ofMortgagePaymentChangewaselectronicallyserveduponthefollowingusingtheCourt’s
CM/ECFsystem:

Debtor’sAttorney:ASHLEY M. SULLIVAN
Trustee:KENNETH E. WEST
OfficeoftheUnitedStatesTrustee

  Further,Icertifythat,on 11/26/2021
                                          ,atrueandcorrectcopyoftheNoticeofMortgage
PaymentChangewasforwardedviaU.S.Mail,firstclasspostageprepaidandproperly
addressed,tothefollowingattheaddressshownbelow:

                                     6735 Lynford Street
Sheena Napper-Taylor
                                     Philadelphia, PA 19149




                                                                 By:/s/Marika Dienes
                                                                 Marika DIenes
                                                                 PNCBank,N.A.
                                                                 3232NewmarkDrive
                                                                 Miamisburg,OH45342
                                                                 866Ͳ754Ͳ0659
